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    In the Matter of the Estate of Evelyn L. Enderson, Deceased, Keith Enderson, Petitioner  v.  Larry Enderson and Carolyn Respondents No. 25SC83Supreme Court of Colorado, En BancMay 12, 2025
    
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      DENIED PETITIONS FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    